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    Attorneys for Plaintiffs JUSTICE LAUB
  7 and DANIEL KANES
  8                         UNITED STATES DISTRICT COURT
  9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 JUSTICE LAUB and DANIEL                  Case No. LA CV 2:17-06210 JAK (KSx)
    KANES,
 12
              Plaintiffs,                    THIRD AMENDED COMPLAINT
 13                                          FOR:
         v.
 14                                          1) BREACH OF ORAL CONTRACT
    NICHOLAS HORBACZEWSKI;
 15 DRONE RACING LEAGUE, INC.;               2) BREACH OF WRITTEN
    and DOES 1 THROUGH 10, inclusive,           CONTRACT
 16
              Defendants.                    3) BREACH OF IMPLIED-IN-FACT
 17                                             CONTRACT
 18                                          4) QUANTUM MERUIT
 19                                          5) FRAUD
 20                                          6) BREACH OF FIDUCIARY
                                                DUTIES
 21
                                             7) INTENTIONAL INTERFERENCE
 22                                             WITH PROSPECTIVE
                                                ECONOMIC ADVANTAGE
 23
                                             8) PROMISSORY ESTOPPEL
 24
 25                                          DEMAND FOR JURY TRIAL
 26
 27
 28
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  1             Plaintiffs JUSTICE LAUB (“Justice”) and DANIEL KANES (“Dan”)
  2 (collectively, “Plaintiffs”) hereby file the following Amended Complaint and allege
  3 as follows:
  4                                        I.   INTRODUCTION
  5             1.         Plaintiffs bring this action to hold Defendant NICHOLAS
  6 HORBACZEWSKI (“Horbaczewski”) liable for his cynical plot to steal their ideas
  7 for a televised drone racing league, claim all the credit for himself, and cheat them
  8 out of their rightful ownership of two-thirds of the Drone Racing League.
  9             2.         Dan and Justice conceived of and began developing ideas for a
 10 televised drone racing league in 2014, long before Horbaczewski had ever even
 11 flown a drone or knew anything about them. In early January 2015, Plaintiffs
 12 presented their ideas to a television (“TV”) production company, and shortly
 13 thereafter received a written offer to produce a drone racing league TV series.
 14             3.         In late-January 2015, Justice and Dan were introduced to Horbaczewski
 15 as a potential seed investor for their venture. Unbeknownst to Plaintiffs,
 16 Horbaczewski saw them as easy marks, and he falsely promised that the three would
 17 be equal partners in the Drone Racing League (“DRL”), to which they agreed.
 18 Horbaczewski convinced Justice and Dan to reject the lucrative TV production deal
 19 that predated his involvement, assign their rights to the TV show to the nascent
 20 DRL, share all of their ideas for the DRL, and to devote their efforts over the next
 21 several months toward developing the DRL with him. In April 2015, without
 22 Plaintiffs’ knowledge, Horbaczewski incorporated the DRL without assigning any
 23 ownership interest to Plaintiffs, and he deliberately concealed this fact from them
 24 when they repeatedly asked for formal documentation of their ownership. When
 25 Horbaczewski was finished using Plaintiffs, he cut them loose in late 2015 without
 26 giving them any shares in the DRL, or any compensation whatsoever.
 27             4.         Since then, the Drone Racing League has been very successful, and
 28 Horbaczewski has fabricated its origin in order to falsely portray himself as its sole
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  1 originator, when in fact, he pilfered the idea from Dan and Justice.
  2             5.         This action seeks damages for Horbaczewski’s breaches and fraud, as
  3 well as injunctive relief in the form of specific performance of the terms of the
  4 parties’ agreement, namely that Dan and Justice are each entitled to one-third
  5 ownership of the Drone Racing League, among other things.
  6                                             II. PARTIES
  7             6.         Plaintiff JUSTICE LAUB (“Justice”) is an individual residing in Los
  8 Angeles, California.
  9             7.         Plaintiff DANIEL KANES (“Dan”) is an individual residing in Santa
 10 Clarita, California.
 11             8.         Defendant NICHOLAS HORBACZEWSKI (“Horbaczewski”) is an
 12 individual residing at 14 Prince Street, Apt. 5F, New York, NY, 10012.
 13             9.         Defendant DRONE RACING LEAGUE, INC. (“DRL”) is a Delaware
 14 corporation. According to the DRL’s filings with the California Secretary of State,
 15 it has a “Principal Executive Office” at 40 West 27th Street, 8th Floor, New York,
 16 NY, 10001, another “Principal Executive Office” and “ADMIN OFFICE” at 8351
 17 Sedan Ave., West Hills, CA, 91304, and a “Principal Business Office in California”
 18 at 3030 Prather Lane, Santa Cruz, CA, 95065.
 19             10.        The true names or capacities, whether individual, corporate, associate,
 20 representative, or otherwise, of Defendants named herein as DOES 1 through 10,
 21 inclusive, are unknown to Plaintiffs who sue such Defendants by fictitious names.
 22 Plaintiffs will amend this Complaint to show their true names and capacities when
 23 the same have been ascertained. Plaintiffs are informed and believe, and thereon
 24 allege, that at all times herein mentioned, each of the Defendants named herein as
 25 DOES 1 through 10, inclusive, was the agent and employee of each of the remaining
 26 Defendants, and in doing the things hereinafter alleged, was acting within the scope
 27 of such agency. Plaintiffs are informed and believe, and thereon allege, that each of
 28 the fictitiously named Defendants is responsible in some manner for the occurrences
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  1 herein alleged, and that Plaintiffs’ damages were proximately caused by these
  2 Defendants.
  3                                  III. JURISDICTION AND VENUE
  4             11.        This Court has diversity jurisdiction over Plaintiffs’ claims under
  5 28 U.S.C. § 1332.
  6             12.        Horbaczewski is subject to this Court’s specific personal jurisdiction in
  7 that: (a) he purposefully directed his activities toward California and/or availed
  8 himself of the benefits afforded by California’s laws; (b) the claims arise out of or
  9 relate to his forum-related activities; and (c) the exercise of jurisdiction comports
 10 with fair play and substantial justice, i.e., it is reasonable. Specifically,
 11 Horbaczewski travelled to California at least 5-6 times to negotiate and enter into
 12 the contracts with Dan and Justice and to perpetrate the fraud on them alleged
 13 herein, and to meet and work with Plaintiffs on developing the DRL.
 14             13.        The DRL is subject to this Court’s general personal jurisdiction
 15 because one of its two principal places of business is located in this district. On
 16 information and belief, nearly a third of the DRL’s personnel work at its location(s)
 17 in California.
 18             14.        In addition, the DRL is subject to this Court’s specific personal
 19 jurisdiction in that: (a) it purposefully directed its activities toward California
 20 and/or availed itself of the benefits afforded by California’s laws; (b) the claims
 21 arise out of or relate to the DRL’s forum-related activities; and (c) the exercise of
 22 jurisdiction comports with fair play and substantial justice, i.e., it is reasonable.
 23 Specifically, the DRL was formed pursuant to contracts negotiated and performed in
 24 California in 2015, which are the subject of this action. The DRL is registered with
 25 the secretary of state and authorized to do business in California, has offices in this
 26 district, and has nearly a third of its employees in California. The DRL has held
 27 events in this district, including, but not limited to: (1) an event in March 2016 in
 28 Hawthorne, California; (2) events in or around October 2016 in or around Los
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  1 Angeles, California. Additional facts relevant to jurisdiction are alleged in more
  2 detail below.
  3             15.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) in that a
  4 substantial part of the events or omissions giving rise to the claims occurred here.
  5                                   IV. FACTUAL BACKGROUND
  6             16.        In 2014, Dan and Justice conceived of and spent months developing
  7 ideas for a drone racing league and TV show. They agreed to be equal partners in
  8 the drone racing venture that they were developing.
  9             17.        In early January 2015, Plaintiffs pitched their ideas to a TV production
 10 company based in Los Angeles, California called Blank Paige Productions. Later
 11 that month, they began seeking investors for their nascent venture.
 12             18.        On or about January 22, 2015, Matthew Mazzeo, a venture capitalist in
 13 the Los Angeles area, introduced Justice and Dan to Horbaczewski as a potential
 14 seed investor for Plaintiffs’ drone racing league venture at a meeting in Los
 15 Angeles, California. Mr. Mazzeo and Horbaczewski were fraternity brothers at
 16 Harvard.
 17             19.        Dan, Justice, and Horbaczewski corresponded and talked on the phone
 18 numerous times over the next several weeks and met again in Los Angeles for two
 19 days on or about March 11-12, 2015.
 20             20.        During these meetings and phone calls in January-March 2015,
 21 Plaintiffs introduced Horbaczewski to drones and drone racing, shared their ideas
 22 and plans to develop a televised drone racing league, including a written pitch deck
 23 that predated his involvement, and invited him to become part of their venture.
 24 During the meetings on or about March 11-12, 2015, the three orally agreed to be
 25 partners in and co-founders of the DRL, with each owning a third of the company.
 26             21.        They documented this agreement in a business plan for the DRL,
 27 entitled “Drone Racing League: A Business Riff,” that they jointly drafted between
 28 February 2015 and March 2015 (“Business Plan”). On information and belief,
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  1 Horbaczewski’s contributions to the Business Plan were largely based on the pitch
  2 deck that he had earlier received from Dan and Justice. The Business Plan, which
  3 constitutes the Parties written agreement, was hosted by Horbaczewski in the cloud
  4 using the Google Docs platform. The material terms of the Business Plan
  5 contemplate that Dan, Justice, and Horbaczewski would be co-founders of the DRL
  6 and specified that the company’s cap structure would be: “Cap Structure: [] At this
  7 Time we are thinking 33% Dan [Kanes], 33% Justice [Laub], and 33% Nick
  8 [Horbaczewski]. We want to give Matt [Mazzeo] the additional 1% for introducing
  9 us.” This language was initially inputted by Dan and Justice in February 2015.
 10 Between February 11, 2015 and March 12, 2015, Dan, Justice, and Horbaczewski
 11 all had access to the Business Plan in Google Docs.
 12             22.        At no time prior to March 12, 2015, did Horbaczewski remove or
 13 disagree with this language contained in the Business Plan.
 14             23.        At their March 11-12, 2015 meetings, Dan, Justice, and Horbaczewski
 15 discussed the Business Plan and orally agreed to the material terms contained in the
 16 in the Business Plan that are described above.
 17             24.        The Parties discussed that the language describing the material terms
 18 set forth in the Business Plan was intended by the Parties to mean that each of them
 19 would own 33% of the DRL and they would work together as co-founders to
 20 commercialize Dan and Justice’s ideas for a televised drone racing league. The
 21 Parties further discussed that this language was intended to mean that they would
 22 have the option of granting Matt Mazzeo 1% of the DRL for introducing Dan and
 23 Justice to Horbaczewski. The Parties did not exercise the option to grant Matt
 24 Mazzeo 1% of the DRL within a reasonable period of time. The Business Plan
 25 includes an implied term that the 1% of the DRL which was available to be granted
 26 to Matt Mazzeo would be divided equally between Dan, Justice, and Horbaczewski
 27 if the option to grant Matt Mazzeo 1% was not exercised.
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  1             25.        Immediately after the March 11-12, 2015 meetings, Dan, Justice, and
  2 Horbaczewski proceeded to act together as partners and co-founders to continue the
  3 development of their drone racing venture.
  4             26.        At the March 11-12, 2015 meetings, Horbaczewski stated that he would
  5 invest $250,000 as seed money, serve as CEO, and work on business development
  6 while Dan and Justice would provide ideas for the league, many of which they had
  7 already developed and shared, and services related to technical issues and race
  8 logistics, community outreach and marketing, strategy, location scouting, and
  9 competitor and fan interaction and experience, among other things. Dan offered to
 10 invest $250,000, but Horbaczewski refused, insisting that Plaintiffs did not need to
 11 contribute capital because they had contributed their ideas, concepts, and existing
 12 work product to the venture.
 13             27.        Unbeknownst to Dan and Justice at that time, Horbaczewski never had
 14 any intent of performing his agreement with and promises to them. Rather, he
 15 intended to breach his agreement and planned to steal Plaintiffs’ ideas and then the
 16 entire DRL for himself. He concealed his true intentions from Plaintiffs for many
 17 months while they worked on behalf of the DRL.
 18             28.        On or about February 9, 2015, Justice and Dan received an offer from
 19 Blank Paige Productions for a one-year exclusive deal to develop a drone racing
 20 league TV show. The offer from Blank Paige Productions granted Dan and Justice
 21 equal amounts of an executive producer fee and profit participation received by
 22 Blank Paige Productions. Justice discussed the offer from Blank Paige Productions
 23 with Horbaczewski on the telephone and forwarded the offer to him for comment by
 24 email on or about February 12, 2015. This email stated that Dan and Justice were
 25 happy to have the ownership in the drone racing league TV show that they
 26 originated be owned by the new company that Dan, Justice, and Horbaczewski were
 27 starting together so their interests would be aligned.
 28             29.        On or about February 16, 2015, Horbaczewski responded and urged
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  1 Plaintiffs to reject the proposal, stating that the DRL should control all TV rights,
  2 and that the DRL would ultimately make more money for all three of them if they
  3 rejected the Blank Paige Productions offer. Horbaczewski did not disagree that he
  4 was starting a new company with Dan and Justice and instead responded that “I’m
  5 positive we’d regret agreeing” to the terms proposed by Blank Paige Productions “if
  6 drone racing takes off quickly.” In justifiable reliance on Horbaczewski’s false
  7 representations and promises that they would be equal partners in the DRL and each
  8 own one-third of the company, and on Horbaczewski’s concealment of his true
  9 intentions, Plaintiffs rejected the lucrative offer, and assigned their rights in the TV
 10 show to the new company that they were starting with Horbaczewski. But for
 11 Horbaczewski’s false representations and promises, and concealment, Dan and
 12 Justice would have developed the show with Blank Paige Productions.
 13             30.        Over the six months following their January 22, 2015 meeting, Dan and
 14 Justice performed substantial work for Horbaczewski and the yet-to-be-formed DRL
 15 to help get it off the ground.
 16             31.        For example, Dan outlined the existing market landscape, technologies,
 17 and challenges of hobbyist drone racing, and prescribed a strategy and course of
 18 action that were used as templates for the DRL’s activities. These core concepts,
 19 techniques, and applied technologies were used by the DRL without compensating
 20 Dan for his contributions. Horbaczewski would not have been able to take
 21 advantage of the unique business opportunity for a televised sports league built
 22 around drones and their pilots without Dan’s involvement.
 23             32.        Dan initially conceived of a competitive event between drone pilots to
 24 be captured using a variety of narrative cinematographic techniques in order to
 25 increase production quality and value. This captured material was then to be edited
 26 together in post-production, but presented as a live event for broadcast and
 27 streaming to audiences in order to make it more engaging. This process is a key
 28 factor that allowed Horbaczewski and the DRL to raise money and negotiate a
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  1 distribution deal with ESPN.
  2             33.        Dan proposed the idea of a standardized drone model which all league
  3 pilots would fly in competition in order to reduce variance in performance and bring
  4 focus to the pilots’ skills rather than incongruities in drone design and construction.
  5 Dan introduced the concept of a network-connected drone simulator on or about
  6 May 3, 2015 which would serve as a marketing platform, recruitment tool for league
  7 pilots, and reduce the barriers to entry for people who were new to drone racing by
  8 alleviating much of the expense and risk involved for novices.
  9             34.        Horbaczewski and the DRL also used footage that was filmed by Dan
 10 at an early DRL event to promote the league, for example, the event held in
 11 Yonkers, New York in or about July 2015. Dan also assisted in preparing requests
 12 for proposals to help facilitate the DRL’s early events in or about April/May 2015.
 13 Dan developed key marketing concepts that Horbaczewski has prominently featured
 14 in promoting and marketing the DRL – notably, referring to the DRL as Nascar for
 15 the gaming generation, gamers, and/or drones. Dan also contributed contacts and
 16 potential business connections, including arranging an opportunity to showcase the
 17 DRL at the Amazon AWS event in Las Vegas in October 2015, and a technology
 18 partnership between the DRL and Avegant, which makes first person view goggles
 19 for drones.
 20             35.        The DRL invited Dan to Join the DRL’s Slack channel on or about
 21 May 4, 2015. Slack is an instant messaging platform that allows the exchange of
 22 messages and documents, organized into threads called “channels” devoted to
 23 particular topics. Dan was an active participant in the DRL’s Slack channel and
 24 contributed to the development of the DRL’s business until his access to the DRL’s
 25 Slack channel was abruptly terminated in November/December 2015. The DRL has
 26 refused to produce messages and documents exchanged over the DRL’s Slack
 27 channel unless the Plaintiffs pays for their recovery from Slack, including
 28 documents that Defendants should have been preserved after this litigation was
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  1 commenced.
  2             36.        Justice, for example, introduced Horbaczewski to branding, marketing,
  3 and public relations companies and provided detailed evaluation and analysis of
  4 branding and marketing proposals for the DRL. He introduced Horbaczewski to
  5 contacts who had worked for potential technology partners like Facebook, Google,
  6 and Microsoft. Justice provided further help with fundraising efforts, arranging
  7 meetings with several potential investors, advisors to startups, and an investment
  8 bank for private technology companies. He also identified and introduced
  9 Horbaczewski to people who might be able to provide venues for DRL events.
 10 Justice repeatedly introduced Horbaczewski to these people as his partner or one of
 11 the “co-founders” of the DRL along with himself, and Horbaczewski never
 12 disagreed. For example, on or about February 18, 2015, Justice introduced
 13 Horbaczewski as “my partner on our new Drone Racing League” to a marketing
 14 agency that was interested in working with the DRL. Horbaczewski did not object
 15 to being characterized as a partner in the DRL along with Dan and Justice.
 16             37.        Justice also gave input on how to address the technical challenges of
 17 drone racing. He provided substantial input and assistance on developing a
 18 promotional video on drone racing to help introduce the DRL to the world.
 19             38.        Justice helped Horbaczewski understand how to make the DRL cool
 20 and culturally relevant. For example, Justice came up with the idea of each drone
 21 racing pilot having a code name or call sign. He arranged a meeting with a famous
 22 designer for movies and TV at which they conceived of the look and feel of the
 23 DRL events and race courses, and costumes for the DRL participants, all of which
 24 has been used to great benefit by the DRL. Justice had the ideas to use neon lights
 25 for the drones and race course features, smoke machines, and electronic music for
 26 the accompaniment. He also developed the ideas to use video that was fast cut but
 27 felt handmade by the pilots, and to provide back stories for the pilots in order to
 28 personalize them and help spectators connect with the DRL.
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  1             39.        Justice also worked with Defendants and responded to Defendants
  2 inquiries regarding how to market and promote the DRL to make it successful. For
  3 example, on or about May 13, 2015, the DRL via Horbaczewski requested Justice’s
  4 input regarding the cinematic techniques to make the DRL cool, asked for input
  5 regarding marketing and video production agencies, and requested that he be
  6 involved in the “creative development” of the video production for the DRL. Justice
  7 responded to the DRL’s request for input by providing detailed notes and analysis
  8 on or about May 14, 2015.
  9             40.        Plaintiffs also conceived of how to make the DRL interactive for
 10 spectators by providing viewing through their phones, having multiple cameras
 11 throughout the race course, and allowing fans to shift their viewing experience
 12 individually on their devices.
 13             41.        Horbaczewski clearly recognized Plaintiffs’ key roles in and substantial
 14 contributions to the DRL. In or about March/April 2015, Horbaczewski asked
 15 Justice and Dan for their biographies, headshots, and logos from their previous
 16 companies, which he then used to identify Plaintiffs as co-founders of the DRL in
 17 pitch decks shown to one or more potential investors. Horbaczewski followed up
 18 with Plaintiffs seeking this information on multiple occasions in April 2015 in
 19 addition to requesting that Plaintiffs provide a “call sign” as a code name to identify
 20 themselves within the DRL.
 21             42.        The DRL requested that Dan attend a meeting with the DRL’s external
 22 intellectual property counsel on or about May 15, 2015. Dan attended the meeting
 23 as requested to discuss the DRL’s business with their external counsel.
 24             43.        In April-June 2015, including at 2-3 more meetings in Los Angeles,
 25 California, Plaintiffs repeatedly asked Horbaczewski for more formal
 26 documentation of their co-ownership of the DRL, as they had all agreed earlier that
 27 year. Horbaczewski repeatedly dodged the issue, claiming that it could not be done
 28 until the company was formed and took in outside investment.
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  1             44.        In fact, these statements by Horbaczewski were false and/or misleading
  2 as he had incorporated the DRL in Delaware on April 17, 2015 without Plaintiffs’
  3 knowledge, without documenting their ownership stake in the DRL, and without
  4 issuing them any shares in the company.
  5             45.        On or about May 27, 2015, Horbaczewski informed Dan and Justice
  6 that he was actively seeking but had not secured any funding from venture capital
  7 firms. Horbaczewski then proposed to Dan and Justice that they meet the funding
  8 needs of the DRL by all putting in “money now on the same terms.”
  9             46.        Horbaczewski later sent Dan investment documents offering Dan the
 10 opportunity to invest in the DRL on or about August 19, 2015. These documents
 11 offered Dan the opportunity to invest in the DRL on the same terms as outside
 12 investors without recognizing the prior agreement between Dan, Justice, and
 13 Horbaczewski that they would each own 1/3 of the DRL.
 14             47.        These documents described the proposed corporate structure of the
 15 DRL and indicated that Horbaczewski, Ryan Gury, Trevor Smith, and Al Kelly
 16 were already existing shareholders in the DRL.
 17             48.        Dan and Justice were previously unaware of the corporate structure and
 18 who owned what, if any, shares of the DRL. The DRL is a private corporation and
 19 Dan and Justice did not have access to its records to determine who had an
 20 ownership interest in the DRL. Prior to August 19, 2015, Dan and Justice could not
 21 have discovered the corporate structure and existing shareholders of the DRL with
 22 the exercise of reasonable diligence.
 23             49.        On or about August 24, 2015, Dan declined to invest in the DRL on the
 24 same terms that were being offered to outside investors because the investment
 25 documents failed to recognize that he was a co-founder and already owned 1/3 of
 26 the DRL.
 27             50.        On information and belief, the DRL completed a transaction that sold
 28 shares to outside investors on or about August 25, 2015. This transaction failed to
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  1 recognize that Dan and Justice each owned 1/3 of the DRL and caused Dan and
  2 Justice damage by wrongfully depriving them of their agreed upon ownership
  3 interests in the DRL.
  4             51.        Plaintiffs continued providing services to Horbaczewski and the DRL
  5 through the Summer and Fall of 2015 similar to the aforementioned contributions.
  6             52.        But around November-December 2015, Horbaczewski cut off all
  7 further contact with Plaintiffs.
  8             53.        Prior to November-December 2015, the DRL accepted the
  9 contributions, services, and the benefits of the services provided by Dan and Justice,
 10 including those described above in paragraphs 1-52.
 11
 12                                    V. LITIGATION HISTORY
 13
 14             54.        Justice filed a complaint against Horbaczewski and the DRL on July

 15 10, 2017 in the Superior Court of California, Case No. BC667779 (“Superior Court
 16 Complaint”). The Superior Court Complaint alleges: claims for the breach of oral
 17 and written contracts that Justice, Dan, and Horbaczewski agreed be co-founders
 18 and partners in the DRL, with each owning 1/3 of the company; a common count
 19 that Justice provided requested services to Horbaczewski and the DRL but was not
 20 paid (i.e., a claim for quantum meruit); fraud based on Horbaczewski’s
 21 misrepresentations to Justice that he would get a 1/3 ownership stake in the DRL if
 22 he agreed to make Horbaczewski a co-founder and CEO of the DRL; breach of
 23 fiduciary duty based on Horbaczewski stealing Justice’s ideas for the DRL without
 24 providing his partner Justice any ownership interest in the DRL; and exemplary
 25 damages. A copy of the Superior Court Complaint is attached as Exhibit A.
 26      55.   The Superior Court Complaint was removed to this Court on August

 27 22, 2017 and on September 27, 2017, Dan and Justice filed an Amended Complaint
 28 in this litigation (“Amended Complaint”). The Amended Complaint included the
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  1 claims asserted in the Superior Court Complaint and added additional claims for
  2 breach of an implied-in-fact contract and intentional interference with prospective
  3 economic advantage.
  4             56.        The Amended Complaint added Dan as a Plaintiff in addition to
  5 Justice. Dan, Justice, and Horbaczewski were partners and co-founders who agreed
  6 to and did in fact work together to advance the business of the DRL. The claims
  7 asserted by both Dan and Justice arise from the same conduct, transactions, and
  8 occurrences described above in Paragraphs 1-53. The claims asserted herein by Dan
  9 and Justice against Horbaczewski and the DRL involve the same agreements and
 10 activities directed towards founding and establishing the business of the DRL. The
 11 claims asserted by Dan and Justice in the Amended Complaint both seek the same
 12 redress against the same Defendants based same general set of facts and incidents
 13 that resulted in Dan and Justice being wrongfully deprived of their agreed upon
 14 ownership interests in the DRL by Horbaczewski and the DRL. Dan and Justice
 15 were both parties to the same oral, written, and implied agreements related to the
 16 founding of the DRL and both suffered the same damage as a result of the breach of
 17 these agreements by Horbaczewski and the DRL. Horbaczewski made and reneged
 18 on the same promise to Dan and Justice that they would be co-founders and each
 19 own 1/3 of the DRL. Similarly, Dan and Justice both rendered services requested by
 20 Horbaczewski and the DRL related to the founding of the DRL and suffered the
 21 same harm when Horbaczewski failed to provide them with their promised
 22 ownership interest in the DRL. Moreover, Dan and Justice were both similarly
 23 harmed by Horbaczewski’s fraudulent misrepresentations, breach of fiduciary
 24 duties, and intentional interference with prospective economic advantage as detailed
 25 below.
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  1                                      VI. CLAIMS FOR RELIEF
  2                                     FIRST CLAIM FOR RELIEF
  3                (Breach of Oral Contract Against Horbaczewski and the DRL)
  4             57.        Plaintiffs hereby incorporate by reference Paragraphs 1-56 above as if
  5 fully set forth herein.
  6             58.        Beginning on January 22 and continuing through at least March 2015,
  7 Dan, Justice, and Horbaczewski discussed their ideas for the DRL. On or about
  8 February-March, 2015, in the Business Plan circulated between the Parties through
  9 Google Docs and during meetings in Los Angeles Dan and Justice offered
 10 Horbaczewski the opportunity to be a co-founder of the DRL together with Dan and
 11 Justice with each of them owning 1/3 of the company. On or about March 11-12,
 12 2015, Horbaczewski orally accepted Dan and Justice’s offer to be a co-founder of
 13 the DRL and that each of them would own 1/3 of the company. This agreement
 14 created an oral contract between Dan, Justice, and Horbaczewski having the
 15 material terms noted above. Dan, Justice, and Horbaczewski continued to work
 16 together as co-founders and partners based on the understanding that they each
 17 owned 1/3 of the DRL.
 18             59.        To facilitate the development of their televised drone racing venture,
 19 Horbaczewski stated that he would invest $250,000 as seed money, serve as CEO,
 20 and work on business development. Plaintiffs would provide ideas and concepts for
 21 the league, many of which they had already developed. Plaintiffs also planned to
 22 provide services related to technical issues and race logistics, community outreach
 23 and marketing, strategy, location scouting, and competitor and fan interaction and
 24 experience, among other things. Horbaczewski would serve as CEO and work on
 25 business development. Dan also stated that he would invest $250,000 to match Mr.
 26 Horbaczewski’s investment but Mr. Horbaczewski refused Dan’s offer and insisted
 27 that Dan and Justice had done their part by bringing Horbaczewski into the venture
 28 and providing all of their ideas.
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  1             60.        The DRL accepted the contributions, services, and the benefits of the
  2 services provided by Dan and Justice, including those described above in paragraphs
  3 1-59, until Horbaczewski prevented Dan and Justice from making additional
  4 contributions. Dan and/or Justice continued to perform as agreed in the oral contract
  5 after the DRL was incorporated until November-December 2015. Therefore, the
  6 DRL is bound by the oral contract between Dan, Justice, and Horbaczewski who
  7 acted as the promoter for the DRL prior to the incorporation of the DRL.
  8             61.        On or about August 25, 2015, Horbaczewski and the DRL breached the
  9 oral agreement by accepting investment from outside investors without recognizing
 10 that Dan and Justice each owned 1/3 of the DRL.
 11             62.        Justice and Dan performed their obligations to Horbaczewski except
 12 those obligations Plaintiffs were prevented or excused from performing.
 13             63.        Plaintiffs suffered damages proximately caused by Horbaczewski’s
 14 breach of the agreement in that they never received their ownership stake or shares
 15 in the DRL.
 16                                   SECOND CLAIM FOR RELIEF
 17              (Breach of Written Contract Against Horbaczewski and the DRL)
 18             64.        Plaintiffs hereby incorporate by reference Paragraphs 1-63 above as if
 19 fully set forth herein.
 20             65.        In or about February-March, 2015, Dan, Justice, and Horbaczewski
 21 collaborated on the Business Plan described above. Plaintiffs would provide their
 22 ideas and concepts for the league, many of which they had already developed. They
 23 also planned to provide services related to technical issues and race logistics,
 24 community outreach and marketing, strategy, location scouting, and competitor and
 25 fan interaction and experience, among other things. Horbaczewski would serve as
 26 CEO and work on business development.
 27             66.        The Business Plan, which constitutes the Parties written agreement,
 28 was hosted by Horbaczewski in the cloud using the Google Docs platform. The
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  1 materials terms of the Business Plan specify that the company’s cap structure would
  2 be: “Cap Structure: [] At this Time we are thinking 33% Dan [Kanes], 33% Justice
  3 [Laub], and 33% Nick [Horbaczewski]. We want to give Matt [Mazzeo] the
  4 additional 1% for introducing us.” This language was initially inputted by Dan and
  5 Justice in February 2015 and constituted their offer to contract with Horbaczewski.
  6 Between February 11, 2015 and March 12, 2015, Dan, Justice, and Horbaczewski
  7 all had access to the Business Plan in Google Docs.
  8             67.        At no time prior to March 12, 2015 or any time prior June 30, 2017, did
  9 Horbaczewski remove or disagree with the this language contained in the Business
 10 Plan.
 11             68.        At their March 11-12, 2015 meetings, Horbaczewski orally accepted
 12 Dan’s and Justice’s offer contained the Business Plan forming a written contract.
 13 And, at their meetings on March 11-12, 2015, Dan, Justice, and Horbaczewski
 14 confirmed their agreement that they would each be co-founders of the DRL and
 15 confirmed their agreement to the terms set out in the Business Plan. Dan, Justice,
 16 and Horbaczewski discussed that the language describing the material terms set
 17 forth in the Business Plan was intended by the Parties to mean that each of them
 18 would work together as co-founders to commercialize Dan and Justice’s ideas for a
 19 televised drone racing league and own 33% of the DRL. The Parties further
 20 discussed that this language was intended by the Parties to mean that the Parties had
 21 an option to grant Matt Mazzeo 1% of the DRL for introducing Dan and Justice to
 22 Horbaczewski. The option did not include a fixed period of time during which it
 23 was required to be exercised and accordingly was required to be exercised within a
 24 reasonable period of time. The Parties did not exercise the option to grant Matt
 25 Mazzeo 1% of the DRL within a reasonable period of time.
 26             69.        The Business Plan does not specifically contemplate how the 1% of the
 27 DRL that was available to grant to Matt Mazzeo would be divided if the option
 28 wasn’t exercised within a reasonable period of time. Instead, the Business Plan
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  1 includes an implied term that the 1% of the DRL that was the subject of the option
  2 to grant to Matt Mazzeo would be split equally between Dan, Justice, and
  3 Horbaczewski because they had equal ownership shares in the DRL (i.e., they each
  4 owned 33% or 1/3 of the 99% of the DRL that the Parties agreed to allocate between
  5 themselves). Pursuant to this implied term, Dan, Justice, and Horbaczewski each
  6 acquired an additional 1/3% ownership interest in the DRL when the option to grant
  7 Matt Mazzeo 1% of the DRL was not exercised within a reasonable period of time.
  8 The result is that Dan, Justice, and Horbaczewski increased their respective
  9 ownership interests from 33% to 1/3 of the DRL when the option to grant Matt
 10 Mazzeo 1% of the DRL was not exercised.
 11             70.         In light of the proffered parol evidence and the nature and
 12 circumstances surrounding the agreement, the written terms in the Business Plan are
 13 reasonably susceptible to Plaintiffs’ proffered interpretation that they would each
 14 own 1/3 of the DRL after the option to grant Matt Mazzeo 1% of the DRL was not
 15 exercised within a reasonable period of time. The conduct of the Parties
 16 immediately after the agreement, and prior to any disputes arising, confirms the
 17 intent of the Parties as Dan, Justice, and Horbaczewski proceeded to act together as
 18 partners and co-founders to continue the development of their drone racing venture.
 19             71.        In the alternative, Dan, Justice, and Horbaczewski accepted the terms
 20 set out in the Business Plan by continuing to work together as partners and co-
 21 founders of the DRL and taking steps to build and promote the business of the DRL,
 22 without Horbaczewski expressing any disagreement either orally or in writing to the
 23 terms set out in the Business Plan.
 24             72.        The DRL accepted the contributions, services, and the benefits of the
 25 services provided by Dan and Justice, including those described above in paragraphs
 26 1-71 until Horbaczewski prevented Dan and Justice from making additional
 27 contributions. Dan and/or Justice continued to perform as agreed in the written
 28 contract after the DRL was incorporated until November-December 2015.
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  1 Therefore, the DRL is bound by the written contract between Dan, Justice, and
  2 Horbaczewski who acted as the promoter for the DRL prior to the incorporation of
  3 the DRL.
  4             73.        On or about August 25, 2015, Horbaczewski and the DRL breached the
  5 written agreement by accepting investment from outside investors without
  6 recognizing that Dan and Justice each owned 1/3 of the DRL.
  7             74.        Justice and Dan performed their obligations to Horbaczewski except
  8 those obligations Plaintiffs were prevented or excused from performing.
  9             75.        Plaintiffs suffered damages proximately caused by Horbaczewski’s
 10 breach of the agreement in that they never received their ownership stake or shares
 11 in the DRL.
 12                                    THIRD CLAIM FOR RELIEF
 13       (Breach of Implied-in-Fact Contract Against Horbaczewski and the DRL)
 14             76.        Plaintiffs hereby incorporate by reference Paragraphs 1-75 above as if
 15 fully set forth herein.
 16             77.        In the alternative, Justice, Dan, and Horbaczewski entered into an
 17 implied-in-fact contract that was formed on or about March 11-12, 2015, whereby
 18 the three individuals acted together as equal partners and co-founders of the DRL
 19 with each of them owning 1/3 of the DRL. Justice and Dan brought Horbaczewski
 20 into the televised drone racing business venture they were pursuing and the parties
 21 worked together to advance the business of the DRL during, at least, the period from
 22 February 2015 to May 2015. Justice, Dan, and Horbaczewski manifested their
 23 agreement to an implied contract to be partners and co-founders of the DRL with
 24 each of them owning 1/3 of the DRL by their conduct working together as partners
 25 and co-founders and accepting the contributions to the DRL made by each of
 26 Justice, Dan, and Horbaczewski to further the business of the DRL during this
 27 period.
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  1             78.        Examples of the Parties’ conduct that demonstrates an implied contract
  2 was formed between Dan, Justice, and Horbaczewski and that the Parties accepted
  3 each other’s contributions and acted as partners and co-founders of the DRL are
  4 provided below.
  5             79.        On or about February 12, 2015, Justice discussed and provided
  6 Horbaczewski an offer from Blank Paige Productions to produce a drone racing
  7 league TV show that Dan and Justice originated. This email stated that Dan and
  8 Justice were happy to have the ownership in the drone racing league TV show that
  9 they originated be owned by the new company that Dan, Justice, and Horbaczewski
 10 were starting together so their interests would be aligned.
 11             80.        On or about February 16, 2015, Horbaczewski responded and urged
 12 Plaintiffs to reject the Blank Paige Productions proposal, stating that the DRL
 13 should control all TV rights, and that the DRL would ultimately make more money
 14 for all three of them if they rejected the Blank Paige Productions offer.
 15 Horbaczewski did not disagree that he was starting a new company with Dan and
 16 Justice and instead responded that “I’m positive we’d regret agreeing” to the terms
 17 proposed by Blank Paige Productions “if drone racing takes off quickly.” Based on
 18 this understanding, Plaintiffs provided ideas and services to Horbaczewski and the
 19 DRL, rejected an earlier TV production deal, and assigned their rights to a drone
 20 racing league TV show to the yet-to-be-formed DRL, among other things.
 21             81.        On or about February 18, 2015, Justice introduced Horbaczewski as
 22 “my partner on our new Drone Racing League” to a marketing agency that was
 23 interested in working with the DRL. Horbaczewski did not object to being
 24 characterized as a partner in the DRL with Dan and Justice and engaged with the
 25 marketing agency that Justice suggested the DRL work with. Additionally, Justice
 26 and Dan repeatedly introduced Horbaczewski to third parties as one of their co-
 27 founders in the DRL. Horbaczewski did not object to being characterized as a co-
 28 founder with Justice and Dan because the three of them were developing the DRL as
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  1 co-founders and equal owners of the DRL.
  2             82.        In or about February-March, 2015, Dan, Justice, and Horbaczewski
  3 collaborated on a Business Plan describing, for example, how the Parties proposed
  4 to advance the business of the DRL together as partners and co-founders based upon
  5 the drone racing concepts contributed by Dan and Justice.
  6             83.        On or about April 1, 2015, Horbaczewski requested that Dan provide
  7 input on a request for proposal that the DRL sent to video production companies to
  8 create a video that would be used to promote the DRL.
  9             84.        In or about March/April 2015, Horbaczewski asked Justice and Dan for
 10 their biographies, headshots, and logos from their previous companies, which he
 11 then used to identify Plaintiffs as co-founders of the DRL in pitch decks shown to
 12 one or more potential investors. Horbaczewski followed up with Plaintiffs seeking
 13 this information on multiple occasions in April 2015 in addition to requesting that
 14 Plaintiffs provide a “call sign” as a code name to identify themselves within the
 15 DRL.
 16             85.        On or about May 3, 2015, Dan introduced the concept of a
 17 network-connected drone simulator which would serve as a marketing platform,
 18 recruitment tool for league pilots, and reduce the barriers to entry for people who
 19 were new to drone racing by alleviating much of the expense and risk involved for
 20 novices. The DRL accepted Dan’s contribution and currently offers a drone racing
 21 simulator to promote the DRL on its website.
 22             86.        On or about May 4, 2015, the DRL invited Dan to join the DRL’s Slack
 23 channel. Dan was an active participant in the DRL’s slack channel and contributed
 24 to the development of the DRL’s business for many months until his access to the
 25 DRL’s slack channel was abruptly terminated in November/December 2015.
 26             87.        On or about May 13, 2015, the DRL via Horbaczewski requested
 27 Justice’s input regarding the cinematic techniques to make the DRL cool, asked for
 28 input regarding marketing and video production agencies, and requested that he be
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  1 involved in the “creative development” of the video production for the DRL. Justice
  2 responded to the DRL’s request for input by providing detailed notes and analysis
  3 on or about May 14, 2015.
  4             88.        On or about May 15, 2015, Dan attended a meeting, upon by request
  5 from the DRL, with the DRL’s external intellectual property counsel to discuss the
  6 DRL’s business related to potential intellectual property issues.
  7             89.        On or about May 27, 2015, Horbaczewski proposed to meet the funding
  8 needs of the DRL by Dan, Justice, and Horbaczewski all putting in “money now on
  9 the same terms.” Horbaczewski’s request that he, Dan, and Justice put money in on
 10 the same terms confirms that he manifested his assent to be equal partners and co-
 11 founders in the DRL with Dan and Justice.
 12             90.        The above conduct demonstrates that Dan, Justice, and Horbaczewski
 13 acted as partners and co-founders to advance the business of the DRL. It also
 14 establishes that the actions of Horbaczewski and the DRL manifested their consent
 15 to an implied contract that Dan, Justice, and Horbaczewski would each own 1/3 of
 16 the DRL and work together to advance the business of the DRL as co-founders
 17 because the Parties did exactly that.
 18             91.        Horbaczewski and the DRL accepted and used these ideas, services,
 19 and rights from Plaintiffs.
 20             92.        Horbaczewski and the DRL knew, or had reason to know, that
 21 Plaintiffs interpreted the parties’ conduct, for example, the parties conduct described
 22 above between February and May 2015 as an agreement to enter into a contract that
 23 was formed on or about March 11-12, 2015.
 24             93.        The DRL accepted the contributions, services, and the benefits of the
 25 services provided by Dan and Justice, including those described above in Paragraphs
 26 1-92 until Horbaczewski prevented Dan and Justice from making additional
 27 contributions. Dan and/or Justice continued to perform as agreed in the implied
 28 contract after the DRL was incorporated until November-December 2015.
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  1 Therefore, the DRL is bound by the implied contract between Dan, Justice, and
  2 Horbaczewski who acted as the promoter for the DRL prior to the incorporation of
  3 the DRL.
  4             94.        On or about August 25, 2015, Horbaczewski and the DRL breached the
  5 implied contract by accepting investment from outside investors without
  6 recognizing that Dan and Justice each owned 1/3 of the DRL.
  7             95.        Justice and Dan performed their obligations to Horbaczewski and the
  8 DRL except those obligations Plaintiffs were prevented or excused from
  9 performing.
 10             96.        Plaintiffs suffered damages proximately caused by Horbaczewski’s and
 11 the DRL’s breach of the agreement in that they never received their ownership stake
 12 or shares in the DRL.
 13                                   FOURTH CLAIM FOR RELIEF
 14    (Quantum Meruit for Services Rendered Against Horbaczewski and the DRL)
 15             97.        Plaintiffs hereby incorporate by reference Paragraphs 1-96 above as if
 16 fully set forth herein.
 17             98.        In or about January 22-March, 2015, Dan, Justice, and Horbaczewski
 18 agreed to be partners and co-founders of the DRL and work together to build the
 19 drone racing business of the DRL. To facilitate the development of their proposed
 20 drone racing business, Horbaczewski and the DRL requested, by words and conduct,
 21 that Justice and Dan perform services for the benefit of Horbaczewski and the DRL.
 22             99.        The Plaintiffs performed the services requested by Horbaczewski and
 23 the DRL. For example, Plaintiffs: shared their ideas and plans to develop a televised
 24 competitive drone racing league; outlined the existing market landscape,
 25 technologies, and challenges of drone racing; provided narrative cinematographic
 26 techniques to increase the production quality and value of a competitive drone race;
 27 introduced the idea of a network-connected drone simulator to assist in marketing
 28 the DRL; provided input for drone specifications and race course features; filmed
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  1 promotional footage for the DRL; assisted in arranging for opportunities to
  2 showcase the DRL at technology related events; provided branding and marketing
  3 assistance for the DRL; provided assistance to overcome technical challenges;
  4 assisted in finding venues to hold drone races; and provided ideas for interactive
  5 content experiences for spectators. These services benefitted both Horbaczewski
  6 and the DRL.
  7             100.       Horbaczewski and the DRL promised to compensate the Plaintiffs for
  8 their contributions by providing each of them with ownership of 1/3 of the company,
  9 the reasonable value of which is to be determined at trial.
 10             101. On or about August 25, 2015, Horbaczewski and the DRL failed to
 11 provide the agreed compensation to the Plaintiffs by accepting investment from
 12 outside investors without recognizing that Dan and Justice each owned 1/3 of the
 13 DRL. Horbaczewski and the DRL have not compensated the Plaintiffs for the
 14 services they provided.
 15
 16                                   FIFTH CLAIM FOR RELIEF
 17                                   (Fraud Against Horbaczewski)
 18             102. Plaintiffs hereby incorporate by reference Paragraphs 1-101 above as if
 19 fully set forth herein.
 20             103. Horbaczewski made representations of material fact. Specifically, at a
 21 meeting with Plaintiffs on or about January 22, 2015, in the written Business Plan
 22 they co-wrote in February-March 2015, and at another meeting with Plaintiffs on or
 23 about March 11-12, 2015, Horbaczewski represented that he and Plaintiffs would be
 24 co-founders of and equal partners in the DRL. He represented that Plaintiffs would
 25 each get a 1/3 ownership stake in the company if they provided ideas and services as
 26 described above, and if they agreed to make him a co-founder and CEO of the DRL.
 27             104. These representations were in fact false. The truth was that
 28 Horbaczewski intended to steal Plaintiffs’ ideas and the entire DRL for himself.
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  1             105. When Horbaczewski made these false representations, he knew they
  2 were false.
  3             106. Horbaczewski also concealed materials facts. Specifically, on the
  4 aforementioned dates in January-March 2015, he concealed his intent to steal
  5 Plaintiffs’ ideas and the DRL, and he then concealed his incorporation of the DRL
  6 in April 2015 without providing any shares to Plaintiffs.
  7             107. Horbaczewski concealed facts that he had a duty to disclose, and by
  8 repeatedly telling Plaintiffs that he could not document their ownership stake in the
  9 DRL until it was formed, he misled them and prevented them from discovering the
 10 concealed facts.
 11             108. Horbaczewski also made promises about material matters without any
 12 intention of performing them. Specifically, he promised each of Plaintiffs a 1/3
 13 share of ownership in the DRL if they provided their ideas and services as described
 14 above, and if they agreed to make Horbaczewski a co-founder and CEO of the DRL.
 15             109. Horbaczewski made these false representations, concealed these facts,
 16 and made these promises without any intention of performance and with the intent
 17 to defraud Plaintiffs and induce them to act as described above. At the time
 18 Plaintiffs acted, they were unaware that Horbaczewski’s representations were false
 19 and unaware of the concealed facts and Horbaczewski’s intention not to perform his
 20 promises. Plaintiffs acted in justifiable reliance on Horbaczewski’s conduct.
 21             110. In justifiable reliance on Horbaczewski’s conduct, Plaintiffs were
 22 induced to share their ideas for the DRL with Horbaczewski, reject a lucrative offer
 23 to develop a drone racing league TV show that was originated prior to
 24 Horbaczewski’s involvement and assign their rights to the DRL instead, and provide
 25 substantial services to Horbaczewski to get the DRL started.
 26             111. As a result of Plaintiffs’ reliance on Horbaczewski’s conduct, Plaintiffs
 27 were damaged in that they received no ownership stake or share in the DRL nor any
 28 compensation whatsoever from Horbaczewski, and they rejected a written offer to
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  1 develop a drone racing league TV show that would have generated substantial
  2 income.
  3             112. Horbaczewski’s aforementioned acts were undertaken with malice,
  4 oppression, and fraud; therefore, Plaintiffs are entitled to an award of punitive
  5 damages.
  6                                 SIXTH CLAIM FOR RELIEF
  7                        (Breach of Fiduciary Duties Against Horbaczewski)
  8             113. Plaintiffs hereby incorporate by reference Paragraphs 1-112 above as if
  9 fully set forth herein.
 10             114. Horbaczewski was partners with Justice and Dan in the DRL and owed
 11 fiduciary duties of good faith and undivided loyalty to Plaintiffs.
 12             115. Horbaczewski breached his fiduciary duties to Plaintiffs by acting
 13 against their interests in not providing them with any ownership stake or shares in
 14 the DRL, and by stealing Plaintiffs’ ideas and the entire DRL for himself.
 15             116. Justice and Dan were harmed and Horbaczewski’s conduct was a
 16 substantial factor in causing Plaintiffs’ harm.
 17             117. Horbaczewski’s aforementioned conduct was undertaken with malice,
 18 oppression, and fraud; therefore, Plaintiffs are entitled to an award of punitive
 19 damages.
 20                                SEVENTH CLAIM FOR RELIEF
 21         (Intentional Interference with Prospective Economic Advantage Against
 22                                         Horbaczewski)
 23             118. Plaintiffs hereby incorporate by reference Paragraphs 1-117 above as if
 24 fully set forth herein.
 25             119. Justice and Dan were in an economic relationship with Blank Paige
 26 Productions that probably would have resulted in an economic beneﬁt to Plaintiffs.
 27             120. Horbaczewski knew of the relationship.
 28             121. Horbaczewski engaged in fraud as detailed above, by which he
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  1 intended to disrupt the relationship or knew that disruption of the relationship was
  2 certain or substantially certain to occur.
  3             122. The relationship between Dan, Justice, and Blank Paige Productions
  4 was disrupted, and Plaintiffs were harmed as a result.
  5             123. Horbaczewski’s conduct was a substantial factor in causing Plaintiffs’
  6 harm.
  7             124. Horbaczewski’s aforementioned conduct was undertaken with malice,
  8 oppression, and fraud; therefore, Plaintiffs are entitled to an award of punitive
  9 damages.
 10                               EIGHTH CLAIM FOR RELIEF
 11                        (Promissory Estoppel Against Horbaczewski)
 12             125. Plaintiffs hereby incorporate by reference Paragraphs 1-124 above as if
 13 fully set forth herein.
 14             126. On or about March 11-12, 2015, Horbaczewski orally promised that
 15 Dan and Justice would each own 1/3 of the DRL if Dan and Justice would be co-
 16 founders and work together with him to advance the drone racing venture that Dan
 17 and Justice presented to him. This promise was clear and unambiguous in its terms.
 18             127. Dan and Justice worked together with Horbaczewski as co-founders to
 19 advance the business of the DRL as requested by Horbaczewski, but Horbaczewski
 20 reneged on his promise that Dan and Justice would be 1/3 owners of the DRL. On
 21 or about August 25, 2015, Horbaczewski breached his promise by accepting
 22 investment from outside investors without recognizing that Dan and Justice each
 23 owned 1/3 of the DRL.
 24             128. Dan and Justice relied on Horbaczewski’s promise by contributing their
 25 ideas and working together as co-founders to further the business of the DRL, for
 26 example: sharing their ideas and plans to develop a televised competitive drone
 27 racing league; outlining the existing market landscape, technologies, and challenges
 28 of drone racing; providing narrative cinematographic techniques to increase the
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  1 production quality and value of a competitive drone race; introducing the idea of a
  2 network-connected drone simulator to assist in marketing the DRL; providing input
  3 for drone specifications and race course features; filming promotional footage for
  4 the DRL; assisting in arranging for opportunities to showcase the DRL at
  5 technology related events; providing branding and marketing assistance for the
  6 DRL; providing assistance to overcome technical challenges; assisting in finding
  7 venues to hold drone races; and providing ideas for interactive content experiences
  8 for spectators.
  9             129. Dan and Justice’s reliance on Horbaczewski’s promise was reasonable
 10 and foreseeable. Dan and Justice had already conceived of and refined the idea of a
 11 televised drone racing league and subsequently presented the idea to Horbaczewski
 12 as a potential investor and partner. Dan and Justice undertook significant efforts as
 13 co-founders of the DRL by providing services to support the development of the
 14 DRL into a viable business over the course of many months. Under these
 15 circumstances any reasonable person would have contemplated that Dan and Justice
 16 would expect to receive the 1/3 ownership interest in the DRL that they were each
 17 promised and that their significant contributions could not be perceived as a gift
 18 provided to Horbaczewski to facilitate Horbaczewski excluding them from the drone
 19 racing league venture that they originated and presented to him without any
 20 compensation.
 21             130. Dan and Justice relied on Horbaczewski’s promise to their detriment.
 22 Dan and Justice acted as co-founders and provided services to advance the business
 23 of the DRL (described above) but were swindled out of the 1/3 ownership interest in
 24 the DRL that they were promised by Horbaczewski in exchange for their
 25 contributions. Dan and Justice also declined an opportunity to develop their drone
 26 racing league venture with Blank Paige Productions based on Horbaczewski’s
 27 promise that they would be 1/3 owners of the DRL. This caused Dan and Justice
 28 further harm by preventing them from pursuing a lucrative opportunity that was
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  1 likely to be commercially successful given its substantial similarity to the DRL.
  2             131. Enforcing Horbaczewski’s promise is necessary to avoid injustice.
  3 Otherwise, Horbaczewski would be unjustly enriched at Dan and Justice’s expense
  4 by being permitted to retain the 2/3 equity interest in the DRL that he usurped from
  5 them by failing to honor his promise. Without enforcement of Horbaczewski’s
  6 promise, the significant contributions to the development of the DRL made by co-
  7 founders Dan and Justice would unfairly accrue to Horbaczewski without any
  8 compensation to Dan and Justice for their invaluable contributions to the
  9 development and success of the DRL.
 10
 11                                         PRAYER FOR RELIEF
 12             WHEREFORE, Plaintiffs respectfully pray for the following relief:
 13             a.         Judgment in favor of Plaintiffs and against Defendants;
 14             b.         Injunctive relief, including, but not limited to, an order compelling
 15 specific performance by Defendants;
 16             c.         Compensatory damages according to proof;
 17             d.         A constructive trust that Dan and Justice each own 1/3 of the DRL;
 18             e.         Punitive damages in an amount sufficient to punish Defendants and
 19 deter similar conduct;
 20             f.         Pre- and post-judgment interest;
 21             g.         Costs of suit; and
 22             h.         Such further relief as the Court deems just and proper.
 23                                        JURY TRIAL DEMAND
 24             Plaintiffs demand a jury trial on all issues so triable.
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  1 DATED: July 19, 2018                BARTKO ZANKEL BUNZEL & MILLER
                                           A Professional Law Corporation
  2
  3
  4                                   By:          /s/ Stephen C. Steinberg
  5                                                 STEPHEN C. STEINBERG
  6                                                 Attorneys for Plaintiffs
                                              JUSTICE LAUB and DAN KANES
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